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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

PAMELA MAHROUCH,

                 Plaintiff,

      v.                                                Case No: 8:18-cv-01144-VMC-JSS


CREDIT ONE BANK, N.A.,

                 Defendant.
                                                    /

JOINT STIPULATION STAYING AND REFERRING CASE TO ARBITRATION

           Plaintiff, Pamela Mahrouch (Plaintiff), and defendant Credit One Bank, N.A.

(Credit One), through counsel and under the Federal Rules of Civil Procedure, stipulate

plaintiff’s claims against Credit One are subject to arbitration and this entire case should

be stayed and referred to arbitration, and state:

           1.    On or about May 10, 2018, plaintiff filed this action to this Court.    (Dkt.

1.)

           2.    Plaintiff, through counsel, however, agree this case is subject to arbitration

pursuant to the Visa/Mastercard Cardholder Agreement, Disclosure Statement and

Arbitration Agreement (“Cardholder Agreement”) entered into by plaintiff and Credit

One.

           3.    The parties, therefore, stipulate to allow the Court to stay the case in its

entirety and refer the entire matter to binding arbitration.



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       WHEREFORE, the parties respectfully request the Court stay the proceedings and

refer this entire case to arbitration, and for such other relief as this Court deems proper.

Respectfully submitted,


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